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1                                                                           Judge Lasnik
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9                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
10                                       AT SEATTLE
11   The UNITED STATES of AMERICA,       )
                                         )
12                     Plaintiff,        )                No. CR11-362RSL
                                         )
13               v.                      )
                                         )
14   AYUB AYUB aka “Syed,”               )                ORDER CONTINUING
                                         )                GOVERNMENT’S RESPONSE
15                     Defendant.        )
     ____________________________________)
16
            THIS MATTER comes before the Court on the stipulated motion of the government and
17
     defendant to continue the government’s response to defendant’s motion to suppress statements.
18
     See CR 94-97. The government’s response is currently due September 6, 2012. Having
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     considered the entirety of the record and files herein, good cause exists to continue the deadline
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     for the government’s response one week.
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                                                                                     UNITED STATES ATTORNEY
                                                                                      700 Stewart Street, Suite 5220
                                                                                     Seattle, Washington 98101-1271
                                                                                              (206) 553-7970
             Case 2:11-cr-00362-RSL         Document 102       Filed 09/06/12     Page 2 of 2



1             IT IS NOW, THEREFORE, ORDERED that the government’s response to defendant’s
2    motion to suppress shall be filed on or before September 13, 2012.
3             Dated this 6th day of September, 2012.
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                                                   A
7                                                  Robert S. Lasnik
                                                   United States District Judge
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     Presented by:
10   s/ Lisca Borichewski
     LISCA BORICHEWSKI
11   Assistant United States Attorney
12   (206) 553-2266, Fax: (206) 553-4440
     E-mail: lisca.borichewski@usdoj.gov
13   Washington State Bar #24300
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                                                                                  UNITED STATES ATTORNEY
     Order Continuing Response Deadline                                            700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
     AYUB/CR11-362RSL - 2                                                                  (206) 553-7970
